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                         UNITED STATES BANKRUPCTY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

IN THE MATTER OF:                                )
                                                 )
GARY E. PETTIFORD, SR.                           )      CASE NO. 16-11924-REG
                                                 )      Chapter 7
                       DEBTOR.                   )
         TRUSTEE’S APPLICATION FOR COMPENSATION AND EXPENSES

       Martin E. Seifert, Trustee, files his Trustee's Application for Compensation and

Expenses. As his application, the Trustee states as follows:

       1.      Martin E. Seifert was appointed as Trustee in the above-referenced bankruptcy

case on or about September 8, 2016.

       2.      In the administration of the estate, the Trustee has received $4,210.63.

       3.      Pursuant to 11 U.S.C. §326(a), the Trustee requests that the Court allow his

statutory compensation of $1,052.66, and expenses in the amount of $160.56 (see attached). The

Trustee's compensation and expenses will be paid from the funds already received.

       WHEREFORE, the Trustee respectfully requests the Court allow the statutory fee of

$1,052.66, and expenses in the amount of $160.56.

       DATED: January 2, 2019
                                                       Respectfully submitted,
                                                       CHAPTER 7 TRUSTEE
                                                       444 E. MAIN ST.
                                                       FORT WAYNE, IN 46802
                                                       TELEPHONE: (260) 426-0444
                                                       FAX: (260) 426-0274
                                                       EMAIL: mseifert@hallercolvin.com
                                                       By: /s/ MARTIN E. SEIFERT
                                                           MARTIN E. SEIFERT
                                                           I.D. #16857-02



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of the above and foregoing

Trustee's Application for Compensation and Expenses has been sent by first-class United States

mail, postage prepaid, or electronically by the Court’s electronic case filing system, this 2nd day

of January, 2019, to:

                              Bruce E. Mclane, Esq.
                              312 South Washington St.
                              Marion, IN 46952

                              United States Trustee
                              555 One Michiana Square
                              100 East Wayne Street
                              South Bend, Indiana 46601


                                                     /s/ MARTIN E. SEIFERT
                                                     MARTIN E. SEIFERT




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 Printed: Jan 2 2019 9:53AM            Trustee’s Compensation
 Debtor: GARY E. PETTIFORD, SR.                                                    Case: 16-11924-REG
Computation of Compensation
Total disbursements to other than the debtor are:                                                  $4,210.63
Pursuant to 11 U.S.C. 326, compensation is computed as follows:
25% of first $4,210.63                                                                              $1,052.66
10% of next $0.00                                                                                        $0.00
5% of next $0.00                                                                                         $0.00
3% of next $0.00                                                                                         $0.00

                                                                                _______________________
                              Calculated Total Compensation:                                   $1,052.66
                                             Plus Adjustment:                                      $0.00
                                                                                _______________________
                                          Total Compensation:                                  $1,052.66
                                           Less Previously Paid:                                   $0.00
                                                                                _______________________
                              Total Compensation Requested:                                    $1,052.66
Trustee Expenses
COPIES                                             562   @ $0.20                                      $112.40
POSTAGE                                            1     @ $48.16                                      $48.16

                                                                                _______________________
                                             Subtotal Expenses:                                 $160.56
                                                Plus Adjustment:                                  $0.00
                                                                                _______________________
                                               Total Expenses:                                  $160.56
                                           Less Previously Paid:                                  $0.00
                                                                                _______________________
                                    Total Expenses Requested:                                   $160.56

          The undersigned Trustee certifies under penalty of perjury that the foregoing is true and correct to
 the best of his/her knowledge and requests the United States Trustee to approve this report and accounts
 and requests the Court to provide for notice and opportunity for a hearing under 11 U.S.C. 330(a), 502(b),
 and 503(b) and to thereafter award final compensation or reimbursement of expenses and to make final
 allowance for the purposes of distribution to claims, administrative expenses, and other payments stated
 in this report and account.

         WHEREFORE, the Trustee requests that this application be approved by this Court and that the
 Trustee be granted an allowance of $1,052.66 as compensation and $160.56 for reimbursement of
 expenses. The Trustee further states that no payments have been made or promised to him/her for
 services rendered or to be rendered in any capacity in this case. No agreement or understanding exists
 between applicant and any other person for sharing compensation or to be received.

 Dated:    01/02/2019                             Signed: /s/Martin E. Seifert
                                                          Martin E. Seifert
                                                          Chapter 7 Bankruptcy Trustee
                                                          444 E. Main St.
                                                          Fort Wayne, IN 46802
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                        UNITED STATES BANKRUPCTY COURT
                         NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

IN THE MATTER OF:                                )
                                                 )
GARY E. PETTIFORD, SR.                           )       CASE NO. 16-11924-REG
                                                 )       Chapter 7
                       DEBTOR.                   )

                    AFFIDAVIT OF MARTIN E. SEIFERT, TRUSTEE

       I, Martin Edward Seifert, Trustee, being duly sworn upon my oath, state as follows:

      1.      I was appointed as Trustee in the above bankruptcy proceeding on or about
September 8, 2016.

       2.     I do not have an interest adverse to the estate in regard to the matters for which I
have been appointed and am a disinterested person pursuant to 11 U.S.C. §101(14).

        3.    No agreement or understanding exists between me and any other person for
division of compensation and no division of compensation shall be made by me except as
permitted by 11 U.S.C. §504 and by Bankruptcy Rule 2016(a).

      4.     No agreement, express or implied, has been made by me in excess of the
compensation allowed by law or in violation of 18 U.S.C. §155.

        I affirm, under the penalties for perjury, that the foregoing representations are true and
correct to the best of my knowledge, information, and belief.

       DATE: January 2, 2019

                                                     /s/ Martin E. Seifert
                                                     MARTIN E. SEIFERT, Trustee

         Subscribed and sworn to before me, a Notary Public in and for said County and State,
this 2nd day of January, 2019.


                                                     /s/ Rebeca Gonzales
                                                     Rebeca Gonzales, Notary Public
                                                     Commission Number: 649997
My Commission Expires: January 2, 2022
Resident of: Allen County, Indiana
